           Case 3:22-cv-00323-LRH-CLB Document 27 Filed 07/19/22 Page 1 of 1




 1                              UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 MARLENA SONN,                                            Case No.: 2:22-cv-01137-APG-BNW

 4          Plaintiff                                                       Order

 5 v.

 6 KENDALLE P. GETTY, et al.,

 7          Defendants

 8         Based on allegations in the complaint, this case should have been filed in the unofficial

 9 northern division of this court. See LR IA 1-8(a) (stating that a civil action “must be filed in the

10 clerk’s office for the unofficial division of the court in which the action allegedly arose”).

11         I THEREFORE ORDER that this action is transferred to the unofficial northern division

12 of this court for all further proceedings. The clerk of the court shall transfer and reopen this

13 matter as a new action under a new docket number in the northern division, and the action under

14 this docket number shall be closed, without prejudice to petitioner regarding any federal

15 limitation period and filing fee.

16         Dated this 19th day of July, 2022.

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18                                                        ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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